Case 2:05-cv-02040-.]DB-dkv Document 24 Filed 08/10/05 Page 1 of 3 Page|D 46

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF 'IGMS§EE§H B: 09

 

     

WESTERN DIVISION
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. . . . . utle t_._ F`E',-‘,P‘t‘l\°)
POSAPAC, LLC, a Tennessee llmlted llablllty company, '*- ~

and BARRY FIALA, INC., a Tennessee corporation,

Plaintiffs/Counter-Defendants,
v. Civil Action No. 05-2040-B/V

WG&D, Inc., an Oregon corporation,
formerly known as

WESTERN GRAPHICS & DATA, INC.,

Defendant/Counter-Plaintiff.

 

()RDER GRANTING PERMISSION TO PRACTICE IN PARTICULAR CASE

 

Defendant WG&D, Inc. has moved for permission for Jacob E. Vilhauer, Jr. and Susan D.
Pitchford of the Oregon Bar to be granted permission to participate as its counsel in this case, and
it appearing that the requirements of Local Rule 83.l(b) have been met and that Plaintii"fs consent
to the Motion,

lT lS HEREBY ORDERED that Jacob E. Vilhauer, Jr. and Susan D. Pitchford are granted
permission to participate in this case as counsel for Defendant WG&D, lnc. and the Clerl< is directed

to add their names as counsel of record for WG ,- c.

 

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This document entered on the docke sheet in compliance
with Hu|e 58 andfor 79(3) FHCP on "l "' §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02040 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listcd.

 

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Case 2:05-cv-02040-.]DB-dkv Document 24 Filed 08/10/05 Page 3 of 3 Page|D 48

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Honorable J. Breen
US DISTRICT COURT

